Case 2:10-cr-00486-SRC     Document 40     Filed 09/23/10   Page 1 of 3 PageID: 95




                         UNITED STATES DISTRICT COURT
                             DISTRICT OF NEW JERSEY


  UNITED STATES OF AMERICA                  Hon. Stanley R. Chesler
                                            Crim. No. 10—486 (SRC)
             V.
                                            CONTINUANCE ORDER
  ADEWALE ADENUGA,
  FUAD ADENUGA, and
  IBRAHIM YUSUFF




             This matter having come before the Cou
                                                    rt on the joint
  application of Paul J.     Fishman,    United States Attorney for the
  District of New Jersey (by Brian L. Urbane,
                                              Assistant U.S.
  Attorney), and defendants Adewale Adenuga,
                                                     (by David T.
  Schlendorf, Eag.),     Fued Adenuga,    (by Stephen Dratch,   Esq.), and
  Ibrahim Yusuff,   (by Kathleen Theuerer,      Sag.)   for an order
 granting a continuance of the proceedings in
                                              the above-captioned
 matter, and the defendants being aware that
                                             they have the right
 to have the matter brought to trial within 70
                                               days of the date of
 his appearance before a judicial officer of this
                                                  court pursuant
 to Title 18 of the United States Code,        Section 3161(c) (1), and as
 the defendants have consented to such a continua
                                                  nce, and for good
 and sufficient cause shown,

            IT IS THE FINDING OF THIS COURT that this actio
                                                            n should
 be continued for the following reasons:
Case 2:10-cr-00486-SRC          Document 40   Filed 09/23/10   Page 2 of 3 PageID: 96




                1.      Plea negotiations are currently in
                                                           progress,
                                                               and
   both the United States and the defe
                                       ndants desire additional time
   to finalize a plea agreement, whic
                                      h would render trial of this
  matter unnecessary;

                2.     Defendant has consented to the aforemen
                                                               tioned
  continuance; and

                3.     Pursuant to Title 18 of the United
                                                          States Code,
  Section 3161(h) (8),         the ends of justice served by gran
                                                                  ting the
  continuance outweigh the best interests
                                          of the public and the
  defendant in a speedy trial.
                                 1) r
            WHEREFORE, on this          day of September, 2010,
                tT IS ORDERED that defense motions shall
                                                         be filed by
    I I                 ,   the government’s reply shall by filed
                                                                  by
          6 y   .       ,   the argument of the motions is schedule
                                                                    d for
                            and the trial is scheduled for               I I        1)
 and




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Case 2:10-cr-00486-SRC     Document 40     Filed 09/23/10   Page 3 of 3 PageID: 97




                 IT IS FURTHER ORDERED that the
                                                period from September
   22,   2010,   through November 22,   2010,   shall be excludab1e in
   computing time under the Speedy
                                   Trial Act of 1974, pursuant to
   Title 18, United States Code, Sect
                                      ion 3161(h) (8).




                                         -16N. STAt3LEY R CHESLER
                                          United States District Judge




  I hereby consent to the form
  and entry of this Order




  David T. Schlendorf, Esq.
.ATpRNEY FOR ADEWALE ADENUGA



 Ich,Esq.
 TTORNEY FOR FUAD ADENUGA



 Kathleen M. Theurer, Esq.
 ATTORNEY FOR IBRAHIM YUSUFF




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